

People v Bryant (2018 NY Slip Op 01197)





People v Bryant


2018 NY Slip Op 01197


Decided on February 21, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 21, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
MARK C. DILLON
L. PRISCILLA HALL
SYLVIA O. HINDS-RADIX, JJ.


2008-11226
 (Ind. No. 3235/06)

[*1]The People of the State of New York, respondent,
vOtis Bryant, appellant.


Otis Bryant, Wallkill, NY, appellant pro se.
Richard A. Brown, District Attorney, Kew Gardens, NY (John M. Castellano, Johnnette Traill, and Danielle M. O'Boyle of counsel), for respondent.
Paul Skip Laisure, New York, NY (A. Alexander Donn of counsel), former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated March 22, 2011 (People v Bryant, 82 AD3d 1114), affirming a judgment of the Supreme Court, Queens County, rendered November 10, 2008.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
MASTRO, J.P., DILLON, HALL and HINDS-RADIX, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








